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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF COLUMBIA

CIOX HEALTH, LLC,                                 )
                                                  )
                 Plaintiff,                       )
                                                  )
     v.                                           )
                                                  )
                                                      Case No. 1:18-cv-00040-APM
ALEX M. AZAR II, Secretary of Health and          )
Human Services, et al.,                           )
                                                  )
                 Defendants.                      )
                                                  )
                                                  )
                                                  )
                                                  )

          MEMORANDUM OF POINTS AND AUTHORITIES
    IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS AND
IN SUPPORT OF CIOX’S CROSS-MOTION FOR SUMMARY JUDGMENT

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                                 INTRODUCTION

    To hear the government tell it, HHS’s regulations do not limit the fees CIOX is

able to charge when it discloses protected health information (“PHI”) on behalf of

“covered entities” because CIOX is a “business associate” rather than a covered entity

itself, and because the challenged regulations are “solely concerned with imposing

obligations upon covered entities with respect to the manner of and fees relating to

the provision of PHI at an individual’s request, not with imposing such obligations

upon business associates like Ciox.” Mot. to Dismiss (“MTD”) (Dkt. 9-1) at 2. Indeed,

the government claims, HHS “cannot take enforcement action against CIOX

regarding the fees it charges for individual requests of PHI” because the challenged

regulations don’t apply to business associates at all—only covered entities. Id. at 14.

    Those claims are astonishing. Section 13404(a) of the HITECH Act intentionally

and unambiguously applied the rules governing covered entities “to business

associates in the same manner as they apply to the providers and health plans for

whom they are working,” H.R. CONF. REP. No. 111-16, at 493 (2009), reprinted in 2009

U.S.C.C.A.N. 3, 86 (explaining HITECH § 13404(a)), and in a series of regulations

the government never acknowledges, HHS thus mandated that business associates:

    (A) are “required to disclose [PHI] as necessary to satisfy a covered entity’s
    obligations … with respect to an individual’s request for an electronic copy of
    [PHI],” 45 C.F.R. § 164.502(a)(4)(ii), including the obligations to disclose PHI
    to commercial third parties pursuant to the challenged Third Party Directive
    regulation and in accordance with the challenged Patient Rate regulation,
    where applicable;

    (B) “may not use or disclose [PHI] in a manner that would violate the
    requirements of this subpart, if done by the covered entity,” id.
    § 164.502(a)(3), such as charging more than the challenged Patient Rate
    regulation would allow; and
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      (C) are directly liable for “a civil money penalty” if they “violate[] an
      administrative simplification provision,” which is defined to include both the
      challenged Third Party Directive and Patient Rate rules. Id. § 160.402(a).

That is why, when HHS issued these regulations in 2013, it declared that “any

Privacy Rule limitation on how a covered entity may use or disclose [PHI]

automatically extends to a business associate.” Modifications to the HIPAA

Privacy, Security, Enforcement, and Breach Notification Rules under [HITECH]—

Final Rule, 78 Fed. Reg. 5566, 5597 (2013) (“2013 Omnibus Rule”).1

      Even so, the government insists the challenged rules aren’t harming CIOX

because they leave the Company entirely “free to negotiate the terms of the payments

[it] may receive [from covered entities] for its services.” MTD at 2. That claim is

dubious at best.      Even if covered entities alone are subject to the challenged

regulations, the notion that business associates like CIOX could “freely” negotiate

with those entities outside the shadow of HHS’s rules is pure fantasy. Restricting

the fees covered entities can charge parties requesting PHI necessarily impacts how

much those entities might be willing to pay the business associates who provide PHI

on their behalf. More important, this argument’s whole premise is flawed. Like most

business associates, CIOX typically does not receive fees from covered entities when

it fulfills their disclosure duties. Instead, CIOX’s payment for such services consists

of the fees it receives the PHI-requesting party or recipient. Decl. of Tarun

Kabaria ¶ 10 (“Kabaria Decl.”) (attached as Exh. A). To the extent the government

means to suggest that CIOX could mitigate the adverse impact of HHS’s rules by


1   Unless otherwise noted, all emphases are added.

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renegotiating its roughly 13000 contracts and transforming its business model, that’s

not a jurisdictional argument; it’s a recognition that the challenged rules are crushing

this industry. CIOX has every right to challenge HHS’s regulations.

    Given the purely legal nature of CIOX’s claims and the harms HHS’s regulations

are imposing on CIOX, there is no reason to defer a decision on the merits. Indeed,

the government’s motion to dismiss practically invites such a decision because its

arguments are inextricably intertwined with the merits—as when it argues that

HHS’s 2016 Mandates are not subject to judicial review because they are interpretive

rules rather than legislative ones. MTD at 23-28. After all, if this Court holds that

the challenged rules were in fact legislative, CIOX would be entitled to judgment as

a matter of law on its claim that the 2016 Mandates violated the APA’s notice-and-

comment rulemaking requirement.

    With that in mind, CIOX is entitled to judgment as a matter of law on all counts.

With respect to Count I, the HITECH Act’s plain language bars HHS’s extension of

the Third Party Directive beyond PHI contained in Electronic Health Records

(“EHRs”). As the Complaint explained and the government concedes, HITECH’s

Third Party Directive applies only where “a covered entity uses or maintains an

[EHR].” MTD at 4 (quoting 42 U.S.C. § 17935(e)(1)). Yet HHS’s 2013 Omnibus Rule

extended the Third Party Directive to all PHI “regardless of whether the designated

record set [containing such PHI] is an EHR,” 2013 Omnibus Rule, 78 Fed. Reg. at

5631, and indeed “without regard to whether the [PHI] is in electronic or paper




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form.” Id. at 5634. Federal agencies have no authority to override conceded statutory

limitations, and CIOX therefore is entitled to judgment as a matter of law.

   CIOX likewise is entitled to judgment on Counts II and III. While the government

repeatedly asserts that HHS’s 2016 Mandates merely “paraphrase” or “clarify” its

regulations and otherwise leave CIOX “free” to adopt a different view, MTD at 25, 27

n.9, it never engages with the Mandates’s actual language—which deviates from the

regulations HHS issued through notice-and-comment rulemaking, unambiguously

declares how regulated parties must (and must not) conduct their business, expressly

forbids regulated parties from taking steps to avoid the new mandates, and

repeatedly threatens federal enforcement action if the new dictates are violated.

Those are the hallmarks of legislative rulemaking, and CIOX is entitled to relief.

   Finally, the 2016 Mandates are invalid on their own terms. To the extent they

require application of the Patient Rate to Third Party Directives, they directly conflict

with HITECH’s explicit limitation of the Patient Rate to cases where regulated

parties are “providing [the requesting] individual with a copy of [their PHI],” 42

U.S.C. § 17935(e)(3), not cases where they are “transmit[ting] such copy directly to

an entity or person designated by the individual” under a Third Party Directive. Id.

§ 17935(e)(1). And where the Mandates otherwise curtail the scope of permissible

charges under the Patient Rate, those limits directly conflict with HHS’s prior

regulations by excluding previously-authorized charges and otherwise arbitrarily

constraining the “reasonable, cost-based fee” regulated entities are allowed to charge.

   The Court should deny HHS’s motion to dismiss and enter judgment for CIOX.



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               STATUTORY AND REGULATORY BACKGROUND

    A.    HIPAA (1996)

    In 1996, Congress passed the Health Insurance Portability and Accountability

Act (“HIPAA”), Pub. L. No. 104-191, 110 Stat. 1936, to “encourag[e] the development

of a health information system through the establishment of standards and

requirements for the electronic transmission of certain health information.” HIPAA

§ 261 (codified at 42 U.S.C. § 1320(d)). To that end, HIPAA directed HHS to develop

“detailed recommendations on standards with respect to the privacy of individually

identifiable health information” and ordered HHS to submit its recommendations to

Congress within “12 months after the date of the enactment of this Act.” Id. § 264(a)

(formerly codified at 42 U.S.C. § 1320d-2).      HIPAA further specified that the

Department’s recommendations should address “(1) The rights that an individual

who is a subject of individually identifiable health information should have; (2) The

procedures that should be established for the exercise of such rights; [and] (3) The

uses and disclosures of such information that should be authorized or required.” Id.

§ 264(b) (same). If Congress failed timely to enact “legislation governing [such]

standards” after receiving HHS’s recommendations, HIPAA further authorized HHS

to “promulgate final regulations containing such standards not later than the date

that is 42 months after the date of the enactment of this Act.” Id. § 264(c)(1) (same).

    B.    HHS’s Original Privacy Rule (2000)

    HHS submitted the required recommendations, but Congress did not enact

legislation. HHS therefore invoked HIPAA’s conditional rulemaking authority and

issued its “Privacy Rule.” HHS, Standards for Privacy of Individually Identifiable

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Health Information—Final Rule, 65 Fed. Reg. 82462 (2000). That rule set uniform

federal standards governing the confidentiality, privacy, and dissemination of records

containing “protected health information” (or “PHI”), which was defined as

“individually identifiable health information … that is … [t]ransmitted or maintained

in any … form or medium.” Id. at 82805 (codified at 45 C.F.R. § 164.501).

         1.   Required, Permitted, and Authorized Disclosures

    Consistent with HIPAA § 264(b), the Privacy Rule then established a multi-

pronged framework governing both mandatory and permissible disclosures of PHI,

including disclosures of PHI to both patients and third parties:

    a.   Required Disclosures: The Privacy Rule generally “required” healthcare
         providers (called “covered entities”) to fulfill an individual’s request for a
         copy of his or her own PHI (“personal use requests”). Id. at 82805
         (codified at 45 C.F.R. § 164.502(a)(2) (“A covered entity is required to
         disclose [PHI] … [t]o an individual, when requested under, and required
         by, [45 C.F.R.] § 164.524”)).

    b.   Permitted Disclosures: Outside the personal use context, the Privacy
         Rule generally “permitted” the disclosure of PHI without obtaining a
         patient’s specific, prior consent in order “to carry out treatment, payment,
         or health care operations” or to fulfill critical public-health objectives. Id.
         (codified at 45 C.F.R. § 164.502(a)(1)(ii)-(iii)).

    c.   Authorized Disclosures: Finally, the Privacy Rule established a catch-all
         category which, as relevant here, allowed commercial third parties to
         obtain a patient’s PHI for legitimate purposes—such as underwriting an
         insurance policy or pursuing legal claims. In these cases, PHI disclosures
         were “permitted” if, and only if, the requestor first obtained the patient’s
         specific “authorization.” Id. (codified at 45 C.F.R. § 164.502(a)(1)(iv)).

         2.   The Patient Rate

    Regardless of the basis for a given disclosure, HHS understood that gathering

and disclosing records containing PHI would be time-consuming and costly. Just as

the Privacy Rule set distinct rules for distinct types of disclosures, it established

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distinct fee-related rules for those distinct types. As to patient requests for their own

PHI (and for such “personal use” requests alone), the Privacy Rule struck a balance

between (A) ensuring that patients can afford to access their own PHI so that they

can play a meaningful role in their own healthcare decisionmaking, and (B) ensuring

that providers would not be bankrupted by the cost of fulfilling such requests. For

such personal use requests (and only such requests), the Privacy Rule authorized

providers “to charge a reasonable, cost-based fee” that would include “the labor and

supply costs of copying” those records and postage for mailing them (if the individual

requested physical copies), but exclude most other costs. 65 Fed. Reg. at 82557; see

also 45 C.F.R. § 164.524(c). This fee limitation is known as the “Patient Rate,” and

for the personal use requests to which it applied, the Privacy Rule thus required

providers to fulfill requests at a net financial loss in order to ensure that patients can

afford to obtain their own PHI. 65 Fed. Reg. at 82557 (“If the cost [of obtaining PHI]

is excessively high, some individuals will not be able to obtain a copy. We encourage

[providers] to limit the fee for copying so that it is within reach of all individuals.”).

    At the same time the Privacy Rule required providers to fulfill personal use

requests at a loss, HHS recognized it would make no sense to impose such losses when

records are destined for commercial third parties, such as lawyers engaged in

litigation or life insurers underwriting a policy.       Accordingly, the Privacy Rule

expressly declined to limit the fees permitted for fulfilling such requests in response

to a patient authorization. Id. (“We do not intend to affect the fees that covered

entities charge for providing [PHI] to anyone other than the individual.”); id. at



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82754 (“[T]he ‘reasonable fee’ is only applicable to the individual’s request.”).

The Privacy Rule thus allowed providers to recoup the losses they would incur when

fulfilling personal use requests at the Patient Rate, by charging the higher

commercial-use rates that more than 40 States have authorized.

        3.   Indirect Regulation Of Business Associates

    Finally, the original Privacy Rule explained that its strictures would apply

directly to healthcare providers alone—not their service-providing business

associates, including medical-records specialists like CIOX—because the original

HIPAA statute limited HHS’s direct regulatory authority to health plans, healthcare

clearinghouses, and healthcare providers.     Id. at 82641 (“[HIPAA] limits us to

regulate only those covered entities listed in [45 C.F.R.] § 160.102.”). Even so, HHS

expressed grave concerns that fully exempting business associates from the reach of

these rules could let “covered entities … circumvent [the] rules by the simple

expedient of contracting out … various functions.” Id. at 82640.

    To prevent such abuses, the Privacy Rule extended its requirements to business

associates indirectly: Citing HHS’s authority “to regulate what uses and disclosures

of [PHI] by covered entities are ‘authorized,’” the Privacy Rule expressly barred

covered entities from engaging service providers like CIOX to handle PHI unless the

parties first executed a “business associate contract.” Id. And, as relevant here, HHS

ordered that any such contract must (A) “not authorize the business associate to use

or further disclose [PHI] in a manner that would violate the requirements of

this subpart, if done by the covered entity,” and (B) obligate the business associate

to “[m]ake available [PHI] in accordance with [45 C.F.R.] § 164.524,” which is the
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regulation establishing both the personal right of access to PHI and the Patient Rate.

Id. at 82808 (codified in 45 C.F.R. § 164.504(e)). Though the government never

acknowledges it, HHS thereby imposed the Privacy Rule’s strictures on business

associates like CIOX indirectly, through legally-mandated contract terms.

    C.    The HITECH Act (2009)

    Over the next decade, HIPAA spurred the development of a nationwide digital

architecture for maintaining and disseminating PHI. But it also became a victim of

its own success: By 2009, the number of distinct digital-record formats and storage

systems had grown exponentially, making it nearly impossible to efficiently transfer

records between providers.     Congress therefore passed the Health Information

Technology for Clinical and Economic Health Act (“HITECH”), Pub. L. No. 111-5, 123

Stat. 115, 226 (2009), to promote the “development of a nationwide health information

technology infrastructure that [better] allows for the electronic use and exchange of

information.” HITECH § 3001(b) (codified at 42 U.S.C. § 300jj-11).

    To that end, HITECH encouraged healthcare providers to standardize “[t]he

electronic exchange and use of health information” by ensuring “[t]he utilization of

an [EHR] for each person in the United States by 2014.” Id. §§ 3001(c)(3)(A)(i)-(ii)

(same). The statute in turn defined EHR as “an electronic record of health-related

information on an individual that is created, gathered, managed, and consulted

by authorized health care clinicians and staff”—that is, purely electronic

records that are created, maintained, and used exclusively by healthcare providers to

deliver healthcare services. Id. § 13400(5) (codified at 42 U.S.C. § 17921).



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    Given Congress’s focus on the digitization and exchange of physician-generated

electronic patient records, HITECH naturally sought to establish appropriate

“privacy and security protections for the electronic exchange of an individual’s

individually identifiable health information [i.e., their PHI].” Id. § 3001(c)(3)(A)(iii)

(codified at 42 U.S.C. § 300jj-11). That focus in turn led Congress to do what it had

not done after it received HHS’s original HIPAA recommendations: It explicitly

reviewed the Privacy Rule and ordered specific changes for this new, EHR-based

infrastructure. HITECH § 13405 (codified at 42 U.S.C. § 17935).

        1.   The Third Party Directive

    Against a backdrop where Congress explicitly demonstrated its awareness of the

Privacy Rule’s specifics, HITECH made three relevant changes. First, it sought to

simplify the “authorization” process in certain cases. Under the original Privacy

Rule, commercial third parties could only secure direct access to PHI by obtaining a

patient’s prior written authorization and then providing that authorization to a

healthcare provider. Supra at 6 (discussing “authorized disclosures”). In cases where

a provider maintains an EHR (and only with respect to such an EHR), HITECH

simplified that process by establishing a “Third Party Directive” allowing patients to

direct the provider (and, by extension, its business associate) to “transmit” PHI from

their EHR directly to a third party in electronic format (and only electronic format):

    In the case that a covered entity uses or maintains an [EHR] with
    respect to [PHI] of an individual … the individual shall have a right to obtain
    from such covered entity a copy of such [PHI] in an electronic format and,
    if the individual chooses, to direct the covered entity to transmit such copy
    directly to an entity or person designated by the individual.

HITECH § 13405(e)(1) (codified at 42 U.S.C. § 17935(e)(1)).

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        2.   Modification Of The Patient Rate

    Second, and again with respect to EHRs (and only EHRs), HITECH made a

modest change to the Patient Rate for personal use cases (and, naturally, personal

use cases alone, because the Patient Rate had never applied to commercial requests).

Where a covered entity is “providing such individual with a copy of such

information” in electronic form (as opposed to when the entity is “transmit[ting]

such copy directly to [a designated] entity” under a Third Party Directive),

compare HITECH § 13405(e)(2) (codified at 42 U.S.C. § 17935(e)(3)) with id.

§ 13405(e)(1) (codified at 42 U.S.C. § 17935(e)(1)), HITECH provided that “any fee

that the covered entity may impose for providing such individual with a copy of

such information … shall not be greater than the entity’s labor costs in responding to

the request for the copy.” HITECH § 13405(e)(2) (codified at 42 U.S.C. § 17935(e)(3)).

        3.   Direct Regulation Of Business Associates

    Finally, given healthcare providers’ increasing reliance on business associates

and HHS’s long-expressed concern that it could not regulate such entities directly,

see Privacy Rule, 65 Fed. Reg. at 82641 (“[W]e agree that there [would be] advantages

to legislation that directly regulates most entities that use or disclose [PHI].”),

HITECH subjected business associates to direct regulation under the Privacy Rule:

    [A] business associate may use and disclose [PHI] only if such use or
    disclosure, respectively, is in compliance with each applicable
    requirement of [45 C.F.R.] 164.504(e). The additional requirements of
    this subtitle that relate to privacy and that are made applicable with
    respect to covered entities shall also be applicable to such a business
    associate.




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HITECH § 13404(a) (codified at 42 U.S.C. § 17934(a)). In turn, cross-referenced 45

C.F.R. §§ 164.504(e)(2)(ii)(E) & (H) expressly required business associates to “[m]ake

available [PHI] in accordance with [45 C.F.R.] § 164.524” and to “comply with the

requirements of this subpart that apply to the covered entity,” while “the

additional requirements of this subtitle that relate to privacy” included the statute’s

new Third Party Directive. See HITECH § 13405 (codified at 42 U.S.C. § 17935).

    D.    HHS’s 2013 Omnibus Rule

    For several years after HITECH’s enactment, no one questioned the limited

nature of its Third Party Directive or continued validity of the Privacy Rule’s

limitation of the Patient Rate to personal use requests. HHS’s 2013 Omnibus Rule,

however, altered both features of the regulatory regime. First, it applied the Third

Party Directive to any request for PHI, regardless of whether it is in an EHR: “If an

individual’s request for access directs the covered entity to transmit [PHI] directly to

another person designated by the individual, the covered entity must provide the copy

to the person designated.” 45 C.F.R. § 164.524(c)(3)(ii); see also 78 Fed. Reg. at 5634

(extending the Third Party Directive “without regard to whether the [PHI] is in

electronic or paper form”). Moreover, the Rule required delivery of such records “in

the form and format requested by the individual,” even though HITECH required

third-party   transmission    only   “in   an   electronic   format.”    Compare      id.

§ 164.524(c)(2)(i) with HITECH § 13405(e)(1) (codified at 42 U.S.C. § 17935(e)(1)).

    HHS did not even pretend these new regulatory mandates to transmit PHI from

any form whatsoever (i.e., EHR or non-EHR), in any form whatsoever (e.g., paper,

electronic, radiologic film, etc.) were consistent with HITECH’s terms. Instead, HHS
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explicitly acknowledged that its regulation was inconsistent with the statute’s limited

terms, and therefore invoked the conditional and time-limited rulemaking authority

it had been granted under HIPAA § 264(c)(1). In HHS’s words:

    Section 13405(e) [i.e., the Third Party Directive] applies by its terms only to
    [PHI] in EHRs. However, incorporating these new provisions in such a
    limited manner … could result in a complex set of disparate requirements for
    access to [PHI] in EHR systems versus other types of electronic records
    systems. As such, the Department proposed to use its authority under
    section 264(c) of HIPAA … to strengthen the right of access as
    provided under section 13405(e) of the HITECH Act more uniformly to
    all [PHI] maintained in one or more designated record sets electronically,
    regardless of whether the designated record set is an EHR.

2013 Omnibus Rule, 78 Fed. Reg. at 5631.

    The 2013 Omnibus Rule also made changes to the Patient Rate—most notably by

allowing charges for certain previously-excluded costs. HHS explained:

    We [now] acknowledge … that the cost related to searching for and retrieving
    electronic [PHI] in response to requests [is] not … negligible, as opposed to
    what we had anticipated [when we first promulgated the Privacy Rule],
    particularly in regards to designated record set access that will require more
    technically trained staff to perform this function. We clarify that labor costs
    included in a reasonable cost-based fee could include skilled technical staff
    time spent to create and copy the electronic file, such as compiling,
    extracting, scanning and burning [PHI] to media, and distributing
    the media.

Id. at 5636. Despite this modest concession, HHS made clear that the Patient Rate

would continue to bar recovery of most other costs. Id.

    Finally, HHS amended the Privacy Rule to directly regulate business associates.

In a series of new regulatory provisions, the 2013 Omnibus Rule now provided:

    (A) that once engaged by a covered entity, business associates are “required
    to disclose [PHI] as necessary to satisfy a covered entity’s obligations … with
    respect to an individual’s request for an electronic copy of [PHI],” id. at 5696
    (codified at 45 C.F.R. § 164.502(a)(4));


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    (B) that, in discharging this obligation, business associates “may not use or
    disclose [PHI] in a manner that would violate the requirements of this
    subpart, if done by the covered entity,” id. at 5696 (codified at 45 C.F.R.
    § 164.502(a)(3)); and

    (C) that HHS “will impose a civil money penalty upon a covered entity or
    business associate [that] has violated an administrative simplification
    provision,” id. at 5691 (codified at 45 C.F.R. § 160.402(a)), which was defined
    to include the HITECH’s Third Party Directive, the Privacy Rule, and the
    2013 Omnibus Rule. 45 C.F.R. § 160.103 (“Administrative simplification
    provision means any requirement or prohibition established by … Sections
    13400-13424 of [HITECH] … or [t]his subchapter.”).

Because these new requirements directly compelled business associates to comply

with the same disclosure restrictions as covered entities, HHS explained:

    We note that we have not added references to “business associate” to all
    provisions of the Privacy Rule that address uses and disclosures by covered
    entities. Such additions to the Privacy Rule are unnecessary, as a business
    associate generally may only use or disclose [PHI] in the same manner as a
    covered entity. Therefore, any Privacy Rule limitation on how a
    covered entity may use or disclose [PHI] automatically extends to a
    business associate.

2013 Omnibus Rule, 78 Fed. Reg. at 5597.

    E.    The 2016 Mandates

    On February 25, 2016, HHS published, without any prior notice or opportunity

to comment, a putative “Guidance” document that made dramatic changes to the

Patient Rate.    HHS, Individuals’ Right Under HIPAA To Access Their Health

Information (as modified May 25, 2016) (Dkt. 1-2) (the “2016 Mandates”). First, the

2016 Mandates for the first time ordered application of the Patient Rate to Third

Party Directives: “This [Patient Rate] applies regardless of whether the individual

has requested that the copy of the PHI be sent to herself, or has directed that the

covered entity send the copy directly to a third party designated by the


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individual (and it doesn’t matter who the third party is).” 2016 Mandates at

16. As a result, covered entities and business associates like CIOX must now locate,

compile, review, and produce records to for-profit commercial entities like life

insurers and lawyers at a significant financial loss, even though HHS consistently

had made clear that the Patient Rate was intended only to apply to personal use

requests for healthcare purposes.

    Second, the 2016 Mandates dramatically curtailed the already-limited fees that

can be charged under the Patient Rate. Whereas the 2013 Omnibus Rule specifically

had allowed charges for “skilled technical staff time” in connection with “searching

for and retrieving electronic [PHI],” 78 Fed. Reg. 5636, the 2016 Mandates now

declared that such costs must be excluded from the Patient Rate:

    Labor for copying includes only labor for creating and delivering the
    electronic or paper copy in the form and format requested or agreed upon by
    the individual, once the PHI that is responsive to the request has been
    identified, retrieved or collected, compiled and/or collated, and is
    ready to be copied….

    In contrast, labor for copying does not include labor costs associated with:
    Reviewing the request for access [or s]earching for, retrieving, and
    otherwise preparing the responsive information for copying. This
    includes labor to … segregate, collect, compile, and otherwise prepare
    the responsive information.

2016 Mandates at 11-12 (underscores in original). Moreover, the Mandates purported

to limit providers to one of three options for calculating the applicable Patient Rate:

(a) an “actual cost” method; (b) an “average cost” method; or (c) a $6.50 flat fee. Id.

at 13-15. Finally, the Mandates warned that HHS “will take enforcement action” to

enforce compliance with these edicts. Id. at 11; see also id. at 13.



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                                    ARGUMENT

I.   THE COURT HAS JURISDICTION.

     CIOX filed this lawsuit to remedy the serious adverse harms that HHS’s

extension of the Third Party Directive and application of the Patient Rate to such

Third Party Directives are having on its business. Despite the Complaint’s detail and

clarity, the government nonetheless has raised an array of jurisdictional and quasi-

jurisdictional objections, including arguments about Article III standing; statutory

standing; and ripeness. Each is meritless.

     A.    CIOX Has Article III Standing.

     CIOX’s Complaint is straightforward and based on real harms being suffered. It

alleges that CIOX is a business associate that healthcare providers across the country

have engaged to release PHI on their behalf, Compl. ¶¶ 5, 18-19; that processing and

responding to the tens of millions of requests CIOX handles each year for covered

entities is complex, time-consuming, and costly, id. ¶¶ 12-19; that because CIOX

historically has fulfilled roughly half the record requests it processes at or below the

loss-generating Patient Rate, id. ¶¶ 20-21, the majority of CIOX’s revenues come from

the fees it charges for-profit commercial entities, at state-regulated or independently-

contracted rates that generally are far higher than the Patient Rate, when fulfilling

patient-authorized requests, id. ¶ 22; and that HHS’s 2013 Omnibus Rule and 2016

Mandates now unlawfully compel CIOX to deliver PHI to such third parties (a) that

HITECH does not require, since its Third Party Directive applies only to PHI drawn

from EHRs, id. ¶¶ 42-44, 58-65; (b) in a manner HITECH does not require, since its

Third Party Directive compels only electronic delivery of EHR outputs, id.; and (c) at

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a Patient Rate that defies HITECH’s text and structure and arbitrarily causes CIOX

to lose significant revenues it otherwise could secure by charging the state-regulated

rates which have been in place for decades. Id. ¶¶ 48-57, 66-77.

    Even so, the government claims these allegations are “generalized, oblique, and

unsubstantiated,” MTD at 13, or, incredibly, “unlinked to Ciox’s position as a

specialized medical records provider.” Id. at 13-14. Nonsense. These allegations are

fully sufficient to discharge CIOX’s pleading-stage obligation to articulate an injury

that is [1] “concrete and particularized and … actual or imminent, not conjectural or

hypothetical;” [2] “fairly traceable to the challenged action of the defendant;” and [3]

“likely [to] be redressed by a favorable decision.” Bennett v. Spear, 520 U.S. 154, 167

(1997). In short, the Complaint alleges [1] that CIOX is losing money when it delivers

medical records to commercial third parties, because [2] the challenged rules

unlawfully force it to charge only the loss-generating Patient Rate, and that [3]

vacating the challenged rules would redress CIOX’s injuries by allowing it to resume

charging higher rates for delivering PHI to such parties. Especially at the pleading

stage, no more is needed to establish standing. Id. at 168 (“At the pleading stage,

general factual allegations of injury resulting from the defendant’s conduct may

suffice, for on a motion to dismiss we presume that general allegations embrace those

specific facts that are necessary to support the claim.”) (internal quotation and

alterations omitted); NB ex rel. Peacock v. District of Columbia, 682 F.3d 77, 82 (D.C.

Cir. 2012) (“[A]t the pleadings stage, the burden imposed on plaintiffs to establish




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standing is not onerous, and general factual allegations of injury resulting from the

defendant’s conduct may suffice.”) (quotations omitted).2

    Precisely because the government well understands CIOX’s standing allegations,

it spends most of its brief attacking CIOX’s standing theory on the merits—arguing

that CIOX has not shown an injury that is traceable to the challenged rules or

redressable by the requested relief because the challenged rules allegedly don’t

regulate CIOX at all and, derivatively, because CIOX’s injuries thus must be

attributable only to the “independent” actions of the covered entities who concededly

are subject to the challenged rules. Id. at 11-16. No matter which element of standing

the government says these arguments implicate, they are objectively frivolous.

        1.   The Challenged Rules Regulate CIOX Both Directly And
             Indirectly.

    Relying solely on the fact that 45 C.F.R. §§ 164.524(c)(3) (HHS’s version of

HITECH’s Third Party Directive) and 164.524(c)(4) (the Patient Rate) mention

covered entities but not business associates, the government first claims these

regulations “impose[] no requirements or restrictions on business associates like

Ciox.” MTD at 11. But the HITECH Act expressly subjects business associates to 45

C.F.R. § 164.524 via its cross-reference to id. § 164.504(e): “[A] business associate


2   Out of an abundance of caution, CIOX nonetheless directs this Court to the
    attached Declaration of CIOX’s Executive Vice President of Operations. As the
    Kabaria Declaration explains in detail, the challenged rules are directly
    responsible for increasing the number of Third Party Directives CIOX is required
    to fulfill, at a Patient Rate that is far below the state-authorized rates CIOX
    historically has charged for disclosing PHI to third parties, and therefore are
    causing CIOX to lose out on significant revenues that it otherwise would be able
    to secure. Kabaria Decl. ¶¶ 11-17.

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may use and disclose [PHI] only if such use or disclosure, respectively, is in

compliance with each applicable requirement of section 164.504(e) of [45

C.F.R.].” HITECH § 13404(a) (codified at 42 U.S.C. § 17934(a)); see also 45 C.F.R.

§§ 164.504(e)(2)(ii)(E), (H) (obligating business associates to disclose PHI “in

accordance with § 164.524” and to “comply with the requirements of this subpart that

apply to the covered entity”). That is why the Conference Report accompanying

HITECH explained that this section of the statute was intended precisely to remedy

HIPAA’s prior lack of direct-enforcement authority over business associates by

“apply[ing] the HIPAA Privacy Rule, the additional privacy requirements, and the

civil and criminal penalties for violating those standards to business associates in

the same manner as they apply to the providers and health plans for whom

they are working.” H.R. CONF. REP. NO. 111-16 at 493, 2009 U.S.C.C.A.N. at 86.

    This alone forecloses the government’s argument.          But there’s much more.

Consistent with both the original HIPAA and HITECH’s new § 13404(a), the Privacy

Rule (as amended by the 2013 Omnibus Rule) now applies the challenged regulatory

provisions both indirectly and directly to business associates, by providing that:

    (1) Covered entities may engage business associates like CIOX to fulfill their
    disclosure obligations, 45 C.F.R. § 164.502(e)(1)(i) (“A covered entity may
    disclose [PHI] to a business associate and may allow a business associate to
    create, receive, maintain, or transmit [PHI] on its behalf.”), if and only if the
    covered entity and business associate enter into a contract which provides:

        (a) that the business associate “may not … disclose [PHI] in a
        manner that would violate the requirements of this subpart, if
        done by the covered entity,” such as the obligation to charge no
        more than the Patient Rate if applicable, id. § 164.504(e)(2)(i);




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        (b) that the business associate will “[m]ake available [PHI] in
        accordance with § 164.524,” which in turn establishes both the
        Third Party Directive and Patient Rate, id. § 164.504(e)(2)(ii)(E); and

        (c) that “[t]o the extent the business associate is to carry out a covered
        entity’s obligation under this subpart, [the business associate will]
        comply with the requirements of this subpart that apply to the
        covered entity in the performance of such obligation,” like the
        Third Party Directive and Patient Rate. Id. § 164.504(e)(2)(ii)(H);

    (2) Once engaged pursuant to a contract containing those restrictions,
    business associates are legally “required to disclose [PHI] as necessary to
    satisfy a covered entity’s obligations … with respect to an individual’s
    request for an electronic copy of [PHI],” which again includes the
    obligations to fulfill Third Party Directives and, where applicable, charge no
    more than the Patient Rate, id. § 164.502(a)(4);

    (3) In discharging this obligation, business associates “may not use or
    disclose [PHI] in a manner that would violate the requirements of this
    subpart, if done by the covered entity,” such as refusing to comply with
    the Patient Rate, where applicable, id. § 164.502(a)(3); and

    (4) allows HHS to “impose a civil money penalty upon a covered entity or
    business associate [that] has violated an administrative simplification
    provision,” id. § 160.402(a), which includes HITECH, the Privacy Rule, and
    the 2013 Omnibus Rule, and thus the challenged Third Party Directive, the
    Patient Rate, and direct prohibitions on business associates in paragraphs
    (2) and (3) above, id. § 160.103 (“Administrative simplification provision
    means any requirement or prohibition established by … Sections 13400-
    13424 of [HITECH] … or [t]his subchapter.”).

    These regulations mean what they say, as HHS itself made clear when it issued

them. When it promulgated the contract-based subprovisions in its original Privacy

Rule [number (1) above], HHS explained they were designed to indirectly subject

business associates to these rules precisely so that covered entities could not

“circumvent the [Privacy Rule] by the simple expedient of contracting out the

performance of various functions.” 65 Fed. Reg. at 82640. And when it promulgated

the direct-liability provisions in the 2013 Omnibus Rule [numbers (2)-(4) above], HHS


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made clear it was doing so to directly subject business associates to the challenged

rules. Indeed, HHS expressly rejected the very argument on which its brief depends:

      We note that we have not added references to “business associate” to all
      provisions of the Privacy Rule that address uses and disclosures by
      covered entities. Such additions to the Privacy Rule are unnecessary,
      as a business associate generally may only use or disclose [PHI] in the
      same manner as a covered entity. Therefore, any Privacy Rule
      limitation on how a covered entity may use or disclose [PHI]
      automatically extends to a business associate.

2013 Omnibus Rule, 78 Fed. Reg. at 5597.

     HHS never once acknowledges these myriad provisions. But they foreclose each

of the government’s standing arguments, which all depend on the demonstrably false

claim that the challenged regulations do not apply to or otherwise affect business

associates like CIOX and therefore cannot give rise to an injury, MTD at 11-12, that

is fairly traceable to the challenged regulations, id. at 15-16, and which would be

redressed by invalidating those regulations. Id. at 16-17. CIOX has standing.

        2.   The Government’s Counter-Theory Of Injury Is Based On A
             False Premise And Absurd In Its Own Right.

    Because the government’s brief ignores the above-cited provisions, it advances a

second, purely derivative argument—that CIOX’s asserted injuries must be

attributable not to the challenged regulations, but to the supposedly independent

actions of the covered entities CIOX serves. MTD at 12 (“Ciox’s injury depends on

the conduct of health care providers, the covered entities with whom it contracts.”);

id. at 15 (“[T]he agreements that Ciox has negotiated with the covered entities with

which it does business control the payments that Ciox receives for its services.”); id.




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at 16 (“Ciox nowhere alleges that eliminat[ing the challenged regulations] would …

cause the covered entities … to refrain from inflicting whatever injury they claim.”).

    Again, the whole premise of this argument is incorrect: CIOX’s injuries are

directly attributable to the challenged regulations, which fully apply to business

associates. The government therefore is wrong to invoke cases like Nat’l Wrestling

Coaches Ass’n v. Dep’t of Educ., where it was undisputed that the challenged

regulations did not directly apply to the plaintiffs, 366 F.3d 930 (D.C. Cir. 2004)

(“NWCA”), or State Nat’l Bank of Big Spring v. Lew, where the court in fact held that

the plaintiff had standing precisely because (like CIOX here) it was regulated. 795

F.3d 48, 53 (D.C. Cir. 2015) (“A regulated individual or entity has standing to

challenge an allegedly illegal statute or rule under which it is regulated.”).

    But the government’s claim would miss the mark even if it were true that CIOX’s

injuries derive only indirectly, through the covered entities who indisputably are

subject to the challenged regulations. That is so because yet another regulation the

government fails to address deems covered entities liable whenever a business

associate violates HHS’s rules in the course of acting on the covered entity’s behalf:

      A covered entity is liable, in accordance with the Federal common law of
      agency, for a civil money penalty for a violation based on the act or
      omission of any agent of the covered entity, including a workforce
      member or business associate, acting within the scope of the agency.

45 C.F.R. § 160.402(c)(1). Indeed, HHS’s regulations require covered entities to either

take curative action or terminate business associates who breach their contractual

duties to the covered entity, id. § 164.504(e)(1)(ii), including the legally-mandated

duties to “comply with the requirements of [the Privacy Rule] that [would] apply to


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the covered entity” if it were disclosing PHI on its own. Id. § 164.504(e)(2)(ii)(H); see

also id. § 164.504(e)(2)(ii)(E) (requiring business associates to act “in accordance with

§ 164.524”). These rules explain why HHS concededly threatened covered entity CHI

Health St. Francis with enforcement action based on CIOX’s issuance of an

invoice that charged fees in alleged violation of the Patient Rate. See Dkt. 1-3.

    Given these regulations and HHS’s enforcement threats, it should come as no

surprise that covered entities generally require CIOX to comply with the challenged

regulations (including their fee restrictions) and further obligate CIOX to indemnify

its covered entities from any liability based on such violations. See Kabaria Decl.

¶¶ 8-9. Accordingly, even if the challenged rules applied only to covered entities,

their adverse impact on business associates is the natural, fully intended, and very

real result of HHS’s vicarious-liability rules and enforcement threats. Were CIOX

were forced to rely on a derivative-harm theory, there is “little doubt” regarding the

“causal relationship between the government policy [CIOX is challenging] and the

[harmful] third-party conduct.” NWCA, 366 F.3d at 941-42 (citing Tozzi v. HHS, 271

F.3d 301 (D.C. Cir. 2001) and Block v. Meese, 793 F.2d 1303 (D.C. Cir. 1986)). That’s

enough to demonstrate each element of CIOX’s standing. See, e.g., Carpenters Indus.

Council v. Zinke, 854 F.3d 1, 6 & n.1 (D.C. Cir. 2017) (explaining that in “performing

that inherently imprecise task of predicting or speculating about causal effects,

common sense can be a useful tool,” and observing that where “government action

causes an injury, enjoining the action usually will redress that injury”).




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    Because the government well understands that the challenged rules necessarily

“flow through” to business associates, it ultimately asserts that if CIOX doesn’t like

the way HHS’s rules are impacting it, it can simply renegotiate its contracts with the

covered entities it serves: “Ciox confuses the limited fee that an individual may be

charged with the compensation it can receive from the covered entity for its services.

Ciox remains free to negotiate its compensation with covered entities seeking to

outsource the fulfillment of requests for PHI.” MTD at 16. But this argument

completely misunderstands CIOX’s business model. CIOX typically is not paid by

covered entities for fulfilling Third Party Directives or patient-authorized requests

from commercial entities. CIOX instead is compensated by the fees it receives from

the requestor or recipient, and does not receive a separate service fee from the covered

entity on whose behalf it is acting. Compl. ¶ 22; see also Kabaria Decl. at ¶ 10.

    Given that the government effectively is asserting that CIOX remains “free” to

fundamentally transform its business model and renegotiate its roughly 13000

contracts with providers across the United States, its argument only serves to

underscore CIOX’s standing. After all, the effort, disruption, and expense of doing so

is itself a legally cognizable harm sufficient to confer standing on tis own. See, e.g.,

Airline Serv. Providers Ass’n v. Los Angeles, 873 F.3d 1074, 1078 (9th Cir. 2017)

(holding that “[t]he time spent in [unwanted] negotiations is itself a concrete injury”).

And, of course, the government cannot evade the fact that the challenged regulations

are harming CIOX by telling CIOX that it is “free” to suffer these other harms instead.

For standing purposes, the relevant inquiry is not whether CIOX conceivably could



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do something—however impractical and costly—to solve its problem besides suing

HHS. All that matters is that the challenged regulations are hurting CIOX’s business

right now and removing those regulations would fix the problem. That’s true whether

CIOX is directly regulated by the challenged rules or whether those provisions harm

it indirectly. CIOX has standing.

    B.    CIOX’s Claims Are Ripe.

    The government next claims CIOX’s claims are not ripe because adjudicating

them “would benefit from a more concrete setting.” MTD at 18. But the government

never explains why “a more concrete setting” would be helpful or what “additional

factual development” might facilitate the resolution of CIOX’s purely legal claims.

Action Alliance of Senior Citizens of Greater Phila. v. Heckler, 789 F.2d 931, 940 (D.C.

Cir. 1986). That’s because there is no such explanation. The statute either allows

HHS to extend the Third Party Directive beyond EHRs, or it doesn’t. It either allows

HHS to require physical delivery of records in connection with Third Party Directives,

or it doesn’t. It either allows HHS to apply the Patient Rate to Third Party Directives,

or it doesn’t. And the 2016 Mandates either were issued unlawfully, or they weren’t.

Those purely legal questions are “presumptively suitable” for review. Shays v. FEC,

414 F.3d 76, 95 (D.C. Cir. 2005) (quoting AT&T Corp. v. FCC, 349 F.3d 692, 699 (D.C.

Cir. 2003) and citing Whitman v. Am. Trucking Ass’ns, Inc., 531 U.S. 457, 479 (2001)).

    The government nonetheless claims these purely legal questions are unfit for

review because they arise under “a complex statutory scheme.” MTD at 19 (quoting

Nat’l Abortion Fed’n v. Ashcroft, No. 03 Civ. 8695, 2004 WL 555701, at *2 (S.D.N.Y.

Mar. 19, 2004), for the proposition that HIPAA “is ‘complex’”). But the legal issues
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CIOX has raised are not themselves complex, see infra § II, and “The statute has a

lot of parts!” isn’t a legitimate reason to defer review anyway. Ignoring CIOX’s

Complaint won’t make the statute any less “complex,” and “complexity” matters only

if there is a sound reason to think that further developments might make the case

easier to resolve in the future. Toilet Goods Ass’n v. Gardner, 387 U.S. 158, 164

(1967). Again, the government has not offered any reason to think that is so here.

    Finally, the government claims CIOX has not shown it would face any “hardship

[from] deferring review unless and until HHS takes enforcement action.” MTD at 20.

But as set forth in the Complaint and detailed above, the challenged regulations are

costing CIOX vast sums both directly (because CIOX is subject to the challenged

rules) and indirectly (because CIOX’s covered-entity partners are legally obligated to

both mandate and police CIOX’s compliance with those rules). The government in

any case cites no significant institutional interest in deferring the resolution of these

purely legal questions—much less one that warrants the continued imposition of

those harms on CIOX. Nat’l Ass’n of Home Builders v. U.S. Army Corps of Eng’rs,

440 F.3d 459, 465 (D.C. Cir. 2006) (“Where there are no significant agency or judicial

interests militating in favor of delay, hardship cannot tip the balance against judicial

review.”) (alterations omitted); see also AT&T, 349 F.3d at 700. The case is ripe.

    C.    CIOX Has Statutory Standing.

    Finally, the government claims CIOX lacks statutory standing because its

“interests do not fall within the scope of the HITECH Act provision [that] anchor[s]

its claims.” MTD at 20. But the modest standard for statutory standing “forecloses

suit only when a plaintiff’s interests are so marginally related to or inconsistent with
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the purposes implicit in the statute that it cannot reasonably be assumed that

Congress intended to permit the suit.”         Match-E-Be-Nash-She-Wish Band of

Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012) (quotation omitted).

    CIOX easily meets this easy-to-meet standard. Once again, the government

argues that the HITECH provisions CIOX invokes apply only to covered entities, not

business associates. MTD at 21-22. And once again, that claim is foreclosed by

HITECH’s plain text, which expressly subjects business associates to both the

statutory provisions CIOX invokes and the regulations it challenges. Supra at 18-19

(discussing HITECH § 13404(a) (codified at 42 U.S.C. § 17934(a)).

    The government at least acknowledges this section of HITECH. Yet it claims this

section supports the government’s statutory standing argument because it “appl[ies]

two sets of regulations and one set of statutes to business associates, none of which

include 42 U.S.C. § 17935(e) or 45 C.F.R. § 164.524.” MTD at 29. That is true—but

only if you don’t bother to check § 13404(a)’s cross-references. First, by subjecting

business associates to “each applicable requirement of [45 C.F.R. §] 164.504(e),”

HITECH § 13404(a) directly applies 45 C.F.R. § 164.524’s restrictions to business

associates.   See 45 C.F.R. § 164.504(e)(2)(ii)(E) (requiring business associates to

“[m]ake available [PHI] in accordance with § 164.524”); id. § 164.504(e)(2)(ii)(H) (“To

the extent the business associate is to carry out a covered entity’s obligation under

this subpart, [it is required to] comply with the requirements of this subpart that

[would] apply to the covered entity in the performance of such obligation.”).




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    Second, by subjecting business associates to “[t]he additional requirements of

this subtitle that relate to privacy and that are made applicable with respect to

covered entities,” this section subjects business associates to 42 U.S.C. § 17935(e)(1)’s

Third Party Directive—which was the very next subsection of HITECH

(§ 13405(e)(1)), in Subtitle D of the statute (titled “Privacy”), and is the basis for

CIOX’s lawsuit. Again, that’s why HITECH’s Conference Report explained in no

uncertain terms that HITECH § 13404(a) now applies the relevant statutes and

regulations directly “to business associates in the same manner as they apply to the

providers and health plans for whom they are working.” H.R. CONF. REP. NO. 111-16

at 493, 2009 U.S.C.C.A.N. at 86.3 CIOX has statutory standing.




3   Contrary to the government’s apparent belief, CIOX’s claims do not depend on 42
    U.S.C. § 17935(e)(2), and that provision does not undermine the foregoing
    analysis. MTD at 22. While it is true that this provision does use “permissive
    language with respect to business associates[’] options for providing PHI to
    individuals,” id., this provision applies only to Third Party Directives that are
    made directly “to a business associate for access to [PHI] about the individual.”
    42 U.S.C. § 17935(e)(2). We fully agree with the government that the plain text
    of this provision does not obligate CIOX to fulfill requests received directly from
    patients (much less charge the Patient Rate if it chooses to do so). CIOX’s claims
    therefore focus instead on cases where, pursuant to HITECH § 13405(e)(1)
    (codified at 42 U.S.C. § 17935(e)(1)), an individual issues a Third Party Directive
    to a covered entity that, pursuant to the statutory and regulatory regime, has
    engaged CIOX to fulfill such requests on its behalf. As set forth above, both
    HITECH § 13404(a) (codified at 42 U.S.C. § 17934(a)) and HHS’s regulations
    unambiguously subject business associates to the same rules as covered entities
    when discharging those entities’ responsibilities under HITECH § 13405(e)(1)
    (codified at 42 U.S.C. § 17935(e)(1)), and CIOX therefore has statutory standing
    to challenge HHS’s unlawful extension of the Third Party Directive and
    application of the Patient Rate to that context.

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II. CIOX IS ENTITLED TO SUMMARY JUDGMENT.

    A.    HHS’s Extension Of The Third Party Directive Beyond EHRs
          Violates HITECH’s Plain Language And Exceeds HHS’s Authority.

    CIOX is entitled to summary judgment on Count I, which challenges the 2013

Omnibus Rule’s extension of the Third Party Directive beyond EHRs because it (1)

conflicts with HITECH’s plain language and (2) exceeds HHS’s lawful authority.

Compl. ¶¶ 63-65 (citing 5 U.S.C. §§ 706(2)(A), (C)); see also Pub. Employees Ret.

Sys. v. Betts, 492 U.S. 158, 171 (1989) (“[A]gency interpretations must fall to the

extent they conflict with statutory language.”); Michigan v. E.P.A., 268 F.3d 1075,

1081 (D.C. Cir. 2001) (“If [the agency] lacks authority under the [the statute], then

its action is plainly contrary to law and cannot stand.”).

    This isn’t a close question. Prior to HITECH’s enactment, neither HIPAA nor the

Privacy Rule allowed individuals to compel the delivery of their PHI directly to

commercial third parties, like life insurers or trial lawyers. Instead, such parties

could obtain those records only by delivering a valid patient “authorization” to the

PHI’s custodian, who then and only then could disclose the PHI to the third party.

Privacy Rule, 65 Fed. Reg. at 82805 (codified at 45 C.F.R. § 164.502(a)(1)(iv)).

HITECH established a carefully-circumscribed exception to that process. Its Third

Party Directive applies only to “an [EHR] with respect to [PHI] of an individual,”

HITECH § 13405(e) (codified at 42 U.S.C. § 17935(e)); grants individuals “a right to

obtain” only “a copy of such information in an electronic format,” id.; and

merely allows the individual “to direct the covered entity to transmit such copy [i.e.,

the “copy of such information in an electronic format,” id.] directly to [the


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designated] entity or person.” Id. The Third Party Directive thus applies by its plain

terms only to PHI in EHRs—not to PHI in any other records—and compels delivery

of such PHI to designated third parties only in electronic format.

    The 2013 Omnibus Rule nonetheless expanded the Third Party Directive by

compelling covered entities and their business associates to (A) fulfill Third Party

Directives regardless of whether the requested PHI comes from an EHR, and (B)

deliver the responsive PHI in any format requested, not just electronically. 45

C.F.R. § 164.524(c)(2)(i); id. § 164.524(c)(3)(ii). Indeed, HHS candidly admitted that

its new rules were inconsistent with HITECH’s limited terms when it issued them:

    Section 13405(e) [i.e., HITECH’s Third Party Directive] applies by its terms
    only to [PHI] in EHRs. However, incorporating these new provisions in such
    a limited manner … could result in a complex set of disparate requirements
    for access to [PHI] in EHR systems versus other types of electronic records
    systems. As such, the Department [will] strengthen the right of access as
    provided under section 13405(e) of the HITECH Act more uniformly to
    all [PHI] maintained in one or more designated record sets electronically,
    regardless of whether the designated record set is an EHR.

2013 Omnibus Rule, 78 Fed. Reg. at 5631.

    That was impermissible. Federal agencies don’t get to “strengthen” statutes

because the law Congress actually passed might “result in a complex set of disparate

requirements,” id., or because they think Congress should have applied the law “more

uniformly” than it did. Id. Instead, “[d]isagreeing with Congress’s expressly codified

policy choices isn’t a luxury administrative agencies enjoy.” Central United Life Ins.

Co. v. Burwell, 827 F.3d 70, 73 (D.C. Cir. 2016); see also Jordan v. Sec’y of Educ., 194

F.3d 169, 171-72 (D.C. Cir. 1999) (rejecting agency’s attempt to “add an obligation

that is not in the statute” because agencies “may not rewrite the statute”).


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    The 2013 Omnibus Rule did not pretend it was doing otherwise—for instance, by

asserting that some “ambiguity” in HITECH authorized it to “interpret” the statute

as establishing a broader Third Party Directive.4 Instead, the only basis HHS cited

for its conscious disregard of HITECH’s admittedly limited “terms” was its alleged

“authority under section 264(c) of HIPAA to prescribe the rights individuals should

have with respect to their individually identifiable health information.”         2013

Omnibus Rule, 78 Fed. Reg. at 5631. There are three problems with that assertion.

    First, it exceeds the limitations of § 264(c). Burwell, 827 F.3d at 73 (“Agencies

may act only when and how Congress lets them.”) (citing La. Pub. Serv. Comm’n v.

FCC, 476 U.S. 355, 374 (1986)). Congress expressly conditioned HHS’s ability to

exercise § 264(c) authority on the absence of pertinent legislation. HIPAA § 264(c),

110 Stat. at 2033 (formerly codified at 42 U.S.C. § 1320d-2) (authorizing HHS to issue

“final regulations … [i]f legislation governing … the privacy of individually

identifiable health information … is not enacted”). That predicate for HHS’s exercise

of § 264(c) authority dissolved once Congress enacted such legislation.          HHS’s

construction of § 264(c)’s conditional authority as a boundless mandate that allows it

to create new rights regardless of Congress’s actions defies clear congressional intent.

    Moreover, § 264(c) expired in 2000—over a decade before HHS issued the 2013

Omnibus Rule. HIPAA § 264(c), 110 Stat. at 2033 (“[HHS] shall promulgate final

regulations … not later than the date that is 42 months after the date of the

enactment of this Act”). For that reason, HHS’s § 264(c) rulemaking authority no


4   HHS therefore cannot argue so now. SEC v. Chenery Corp. 318 U.S. 80, 95 (1943).

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longer is codified in the U.S. Code; it has been relegated to a “historical note.” The

2013 Omnibus Rule thus treated § 264(c) not only as a wandering mandate to create

new rights without apparent regard to subsequent congressional action (in conflict

with Congress’s original premise for granting such authority), but as authority to do

so for all eternity (in conflict with the limits Congress attached to that authority).

This Court should reject HHS’s Night of The Living Dead approach to § 264(c).

    Second, it in any event is axiomatic that a federal agency “cannot rely on its

general authority” to trump “a specific statutory directive.” Am. Petroleum Inst. v.

EPA, 52 F.3d 1113, 1119-20 (D.C. Cir. 1995) (citing NRDC v. Reilly, 976 F.2d 36, 41

(D.C. Cir. 1992); Sierra Club v. EPA, 719 F.2d 436 (D.C. Cir. 1983)); see also RadLAX

Gateway Hotel, LLC v. Amalgamated Bank, 132 S. Ct. 2065, 2071 (2012) (“The

specific governs the general.      That is particularly true where Congress has

deliberately targeted specific problems with specific solutions.”) (alterations omitted);

Gilbert v. United States, 640 F.3d 1293, 1308 (11th Cir. 2011) (en banc) (“An

ambiguous or general statutory provision enacted at an earlier time must yield to a

specific and clear provision enacted at a later time.”). HHS defied that rule here:

Claiming HITECH did not go as far as it should, HHS blew past the statute’s specific

limits based solely on its supposed general authority to establish brand new rights.

     Finally, even if HHS could exercise § 264(c)’s authority in this zombie-like

fashion, § 264(c) itself almost violates the non-delegation doctrine. While that rule

does not bar Congress from “obtaining the assistance of its coordinate Branches,” it

must at least “lay down … an intelligible principle to which the person or body



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[exercising delegated authority] is directed to conform.” Panama Refining Co. v.

Ryan, 293 U.S. 388, 420 (1935) (quotation omitted).       HIPAA § 264(c), however,

provided no “policy or standard that would serve to confine [HHS’s] discretion.”

Mistretta v. United States, 488 U.S. 361, 373 n.7 (1989). Instead, it granted HHS

carte blanche to “promulgate final regulations containing … standards with respect

to the privacy of individually identifiable health information,” without offering any

guidance regarding how to select appropriate standards; when they should be

applied; or the manner in which they should be enforced. HIPAA § 264(c), 110 Stat.

at 2033. At the very least, the grave constitutional concerns raised by HHS’s exercise

of this apparently boundless authority to create new rights are reason alone to reject

the legitimacy of its invocation. See, e.g., Public Citizen v. DOJ, 491 U.S. 440, 466

(D.C. Cir. 1989). CIOX is entitled to summary judgment on Count I.

    B.    HHS’s 2016 Mandates Are Procedurally Invalid.

    CIOX likewise is entitled to summary judgment on Count II, which challenges

HHS’s 2016 Mandates as legislative rules for which notice-and-comment rulemaking

was required but not conducted. Compl. ¶¶ 66-69 (citing 5 U.S.C. §§ 551(4), 553(b)-

(c), 706(2)(D)). In particular, the Complaint alleges the 2016 Mandates: (A) imposed

rate-, price-, service-, and cost-related restrictions—including rules ordering the

application of the Patient Rate to Third Party Directives and setting new methods for

calculating it—in binding, rather than discretionary, terms; (B) deviated from both

the statute and HHS’s prior legislative rules (which, in contrast, were issued via

notice-and-comment rulemaking); and (C) threatened “enforcement action” for



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violations. Id. (quoting 2016 Mandates). Those are the hallmarks of legislative

rulemaking, and there is no reason to delay the entry of judgment in CIOX’s favor.

        1.    This Claim Is Appropriately Resolved On Summary Judgment.

    The government does not deny that HHS issued the 2016 Mandates without

notice and comment or that they (1) apply the Patient Rate to Third Party Directives

and (2) restrict the fees CIOX otherwise would be able to charge. Instead, the

government concedes each of those points, see, e.g., MTD at 25, but claims that Count

II’s procedural challenge to the Mandates (and by extension Count III’s substantive

challenge) fails to state a valid claim because the Mandates are merely interpretive

rules that are immune from review. Id. at 23-28.

    This claim should be resolved on summary judgment because the government’s

jurisdictional claims are inseparable from the merits. In short, if this Court agrees

that the 2016 Mandates are legislative rules that required notice-and-comment

rather than interpretive rules that did not, then Count II not only states a valid claim

but CIOX is entitled to judgment as a matter of law. Mendoza v. Perez, 754 F.3d

1002, 1025 (D.C. Cir. 2014) (“[P]laintiffs are entitled to entry of summary judgment

in their favor [because the challenged guidances] are legislative rules”); General Elec.

Co. v. EPA, 290 F.3d 377, 385 (D.C. Cir. 2002) (vacating putative guidance document

held to be a legislative rule).

        2.    The 2016 Mandates Are Legislative Rules.

    The government’s basic argument is that the 2016 Mandates are non-reviewable

interpretive rules or policy statements because they merely “paraphrase” or “clarif[y]”

the Patient Rate and Third Party Directive, MTD at 25, and thus are “at most,

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interpretive, non-final guidance in part.” Id. at 26. But incanting those words doesn’t

make them true, Chamber of Commerce v. OSHA, 636 F.2d 464, 468 (D.C. Cir. 1980)

(“We do not classify a rule as interpretive just because the agency says it is.”), and

there is a reason why the government relies entirely on self-serving characterizations

instead of the Mandates’ actual text. Consistent with the Mandates’ telling lack of

either a general disclaimer of intent to regulate or a specific disclaimer that any of

the challenged provisions do so, the Mandates set forth commands in binding terms

that leave no room for disagreement. Appalachian Power Co. v. EPA, 208 F.3d 1015,

1023 (D.C. Cir. 2000) (rejecting even a general disclaimer as mere “boilerplate”); cf.

Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 252-53 (D.C. Cir. 2014) (crediting

specific disclaimers only because “the caveats run throughout the document” and

“repeatedly state[] that it ‘does not impose legally binding requirements’”).

    Indeed, despite the government’s naked denial, the 2016 Mandates are just “like

a ukase. It commands, it requires, it orders, it dictates.” Appalachian Power, 208

F.3d at 1023.    Take their directive applying the Patient Rate to Third Party

Directives. Though the Privacy Rule declared that the Patient Rate “do[es] not …

affect the fees … for providing [PHI] to anyone other than the individual,” 65 Fed.

Reg. at 82557, the 2016 Mandates begin by issuing an unqualified countermand:

        This limitation [the Patient Rate] applies regardless of whether
        the individual has requested that the copy of PHI be sent to herself,
        or has directed that the covered entity send the copy directly to a
        third party designated by the individual (and it doesn’t matter
        who the third party is).




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2016 Mandates at 16. The Mandates then expressly forbid regulated parties from

trying to evade the fee limitations imposed by this new directive:

        We note that a covered entity (or a business associate) may not
        circumvent the access fee limitations [i.e., the Patient Rate] by
        treating individual requests for access like other HIPAA
        disclosures—such as by having an individual fill out a HIPAA
        authorization when the individual requests access to her PHI
        (including to direct a copy of the PHI to a third party).

Id. at 17. These commands leave no room for deviation. They do not say regulated

parties may or should charge the Patient Rate when fulfilling Third Party

Directives; they flatly declare that “[t]his limitation applies.” They emphasize that

regulated parties are not allowed to consider a third party’s commercial character in

determining whether the Patient Rate should apply: “[I]t doesn’t matter who the

third party is.” They expressly declare that regulated parties “may not” attempt to

evade the new mandate. And they cannot sensibly be described as “paraphrasing”

the Privacy Rule or Omnibus Rule; precisely because these commands are

unprecedented, they are not accompanied by any citation to those Rules. This is the

stuff of legislative rules. See, e.g., General Electric, 290 F.3d at 383 (“[T]he mandatory

language of a document alone can be sufficient to render it binding.”).

     That equally is true of the Mandates’ new rules for calculating the Patient Rate,

which begin by expressly barring charges for the costs of preparing requested PHI for

copying: “[L]abor for copying does not include labor costs associated with … preparing

the responsive [PHI] for copying. This includes labor to … segregate, collect, compile,

and otherwise prepare the responsive [PHI] for copying.” 2016 Mandates at 12

(emphasis in original); see also id. at 10 (similar). Given the compulsory language of

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these underscored prohibitions, the government never denies that this directive is

indeed a binding command from which regulated parties cannot deviate. Instead, it

baldly asserts that this command simply “clarifies HHS’s position about what 45

C.F.R. § 164.524(c)(4)(i) has always meant.” MTD at 25. Not so. HHS took exactly

the opposite position when it issued the 2013 Omnibus Rule:

    We acknowledge commenters’ assertions that the cost related to searching
    for and retrieving electronic [PHI] in response to requests would be not
    be negligible, as opposed to what we had anticipated, particularly in regards
    to designated record set access that will require more technically trained staff
    to perform this function. We clarify that labor costs included in a
    reasonable cost-based fee could include skilled technical staff time
    spent to create and copy the electronic file, such as compiling,
    extracting, scanning and burning [PHI] to media, and distributing
    the media.

78 Fed. Reg. at 5631.

    The government offers two responses. It first claims this Mandate is consistent

with the 2013 Omnibus Rule, because the Rule merely said these activities “could

be viewed as included labor costs” but did not have to be. MTD at 26 n.8 (emphasis

modified; citing 78 Fed. Reg. at 5636). But that claim ignores the surrounding

language and context, which readily shows HHS intent to authorize the inclusion of

these costs in calculating the applicable Patient Rate. That is why the 2013 Omnibus

Rule took pains to confess that the original Privacy Rule had erred in assuming such

costs would be “negligible,” and rather than declare “Tough luck!,” instead “clarif[ied]

that labor costs included in a reasonable cost-based fee could include skilled technical

staff time.” 78 Fed. Reg. at 5636. If the government were right that the 2013

Omnibus Rule merely acknowledged a conceivable interpretation of the prior



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regulations without actually adopting it, its confession of error and accompanying

discussion of skilled technical staff time wouldn’t have “clarif[ied]” anything at all.

    As a result, the government ultimately asserts that the Omnibus Rule’s preamble

is irrelevant. MTD at 26 n.8. But while it’s true that a preamble does not control if

it is “inconsistent with the plain language of the regulation,” Barrick Goldstrike

Mines, Inc. v. Whitman, 260 F. Supp. 2d 28, 36 (D.D.C. 2003), this preamble was fully

consistent with the language of the 2013 Omnibus regulation and so is strong

“evidence concerning contemporaneous agency intent.” Wyoming Outdoor Council v.

U.S. Forest Service, 165 F.3d 43, 53 (D.C. Cir. 1999). HHS thus cannot claim credibly

that its new Mandates simply “clarif[y] what [the regulation] has always meant.”

MTD at 25. They eviscerated it. Sprint Corp. v. FCC, 315 F.3d 369, 374 (D.C. Cir.

2003) (“[W]hen an agency changes the rules of the game … more than a clarification

has occurred. To conclude otherwise would intolerably blur the line between when

the APA notice requirement is triggered and when it is not.”).

    The 2016 Mandates’ new tripartite framework for calculating the applicable

Patient Rate fares no better. 2016 Mandates at 13-15 (establishing “actual costs,”

“average costs,” and $6.50 “flat fee” methods for calculating the appropriate Patient

Rate). At least on this point, the government does not pretend that these new

methods merely “clarify” or “paraphrase” HHS’s pre-existing regulations. Instead, it

claims the Mandates merely “suggest[] three ways” for calculating the applicable rate

and are “expressly permissive,” because they “use … language like ‘may’ and ‘can.’”

MTD at 25-26 (citing 2016 Mandates at 15).



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     This argument has only surface appeal. While the 2016 Mandates do say these

three “methods may be used,” Mandates at 14, the key point here is that they allow

CIOX to choose only from these three methods and expressly bar CIOX from charging

the traditional state-authorized rates it would prefer. Id. at 15-16. That is classic

legislative rulemaking activity, and the D.C. Circuit’s decision in General Electric is

directly on point. The challenged guidance document in that case likewise gave

regulated parties multiple options, but the appellate court had no trouble recognizing

that such optionality does not make a guidance any less mandatory:

    [E]ven though the Guidance Document gives applicants the option of
    calculating risk in either of two ways (assuming both are practical) it still
    requires them to conform to one or the other, that is, not to submit an
    application based upon a third way…. To the applicant reading the Guidance
    Document the message is clear: in reviewing applications [EPA] will not be
    open to considering approaches other than those prescribed in the Document.

290 F.3d at 384. Particularly given the Mandates’ repeated threats of enforcement

action, 2016 Mandates at 11 (“We will continue to monitor whether the fees that are

being charged to individuals are creating barriers to this access [and] will take

enforcement action where necessary.”); see also id. at 13, that equally is true here.

    Finally, the government seeks refuge in claims that it could change its mind down

the road. See, e.g., MTD at 8 (“HHS retains the discretion to modify or rescind the

guidance.”); id. at 27 n.9 (“[C]overed entities … are free to interpret the regulations

in a different lawful way than the agency interpretation.”). Those claims are hard to

credit given the government’s elsewhere-repeated statements that HHS stands fully

behind the challenged rules. See, e.g., id. at 6 (“HHS continues to hold this view.”);

id. at 7 (same). More important, there’s no need for this Court to be distracted by the


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government’s self-serving claims. Agencies make these same representations every

time they refuse to conduct notice-and-comment rulemaking, and the courts reject

those claims just as often. CropLife Am. v. EPA, 329 F.3d 876, 883 (D.C. Cir. 2003)

(“[T]he agency’s characterization of its own action is not controlling if it self-servingly

disclaims any intention to create a rule with the ‘force of law,’ but the record indicates

otherwise.”) (citing General Electric, 290 F.3d at 383-85; Sugar Cane Growers Coop.

of Fla. v. Veneman, 289 F.3d 89, 95-96 (D.C. Cir. 2002)).

    C.    The 2016 Mandates Are Substantively Invalid.

    Finally, CIOX is entitled to summary judgment on Count III, which challenges

the 2016 Mandates as substantively incompatible with both HHS’s prior regulations

and the HITECH Act, and otherwise arbitrary and capricious. Indeed, these defects

only underscore the procedural shortcomings in the 2016 Mandates. See, e.g., United

Steelworkers v. FHA, 151 F. Supp. 2d 76, 89-90 (D.D.C. 2015) (Mehta, J.) (proceeding

to determine that challenged rules were arbitrary and capricious even after

determining they were invalid for want of notice-and-comment rulemaking, and “for

much the same reason”). Given the relationship between CIOX’s procedural and

substantive challenges to the 2016 Mandates; the Mandates’ repeated enforcement

threats; and the government’s representation that HHS continues to stand by the

challenged rules, it is particularly important to address these issues now.

         1.   The 2016 Mandates’ Application Of The Patient Rate To Third
              Party Directives Conflicts With HITECH’s Plain Language.

    As we previously explained, HHS’s original Privacy Rule made clear that its

below-cost Patient Rate applied solely to personal use requests—not requests seeking


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the disclosure of PHI to commercial third parties. 65 Fed. Reg. at 82557 (“We do not

intend to affect the fees that covered entities charge for providing protected health

information to anyone other than the individual.”). That was so because the

Patient Rate was intended solely to ensure that individuals could afford to access

their own medical records in order to participate meaningfully in their own

healthcare decisions; as HHS originally explained, “[i]f the cost is excessively high,

some individuals would not be able to obtain a copy. We would encourage covered

plans or providers to make efforts to keep the fee for copying within reach.”

Standards for Privacy of Individually Identifiable Health Information—Proposed

Rule, 64 Fed. Reg. 59918, 59984 (1999). Because those concerns do not apply where

a commercial party intends to use a patient’s records for profitmaking purposes, the

Privacy Rule thus fully allowed regulated parties to charge state-authorized rates for

delivering PHI to third parties that, generally speaking, exceed the Patient Rate.

Privacy Rule, 65 Fed. Reg. at 82754 (“The proposal and the final rule establish the

right to access and copy records only for individuals, not other entities.”).

    Congress was well aware of that backdrop when it passed HITECH, but took no

steps to alter this longstanding distinction between the fees allowed for fulfilling

personal use requests and those allowed where PHI is transmitted to third parties.

HITECH’s plain language instead ratifies and reaffirms this distinction. It first sets

forth two distinct access rights using two distinct textual formulations: one by which

the patient herself may “obtain … a copy of [her PHI from an EHR] in an electronic

format,” HITECH § 13405(e) (codified at 42 U.S.C. § 17935(e)(1)), and the other by



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which the patient may “direct the covered entity [and, by virtue of id. § 13404(a)

(codified at 45 C.F.R. § 17934(a)), its business associate] to transmit such copy

directly to an entity or person designated by the individual.” Id. HITECH then

expressly addresses application of the Patient Rate to these distinct rights: With

express reference to the existing Privacy Rule, it declares that the Patient Rate

applies where the regulated party is “providing such individual with a copy of

such [PHI],” id. § 13405(e)(2) (codified at 42 U.S.C. § 17935(e)(3)), but not also where

it is “transmit[ting] such copy directly to [a] designated [third party].” Cf. id.

§ 17935(e)(1). Congress thus expressly distinguished between an individual’s right to

“obtain” his or her own PHI and the individual’s right to direct its “transmi[ssion]” to

a third party, but applied the Patient Rate only to the former—not the latter.

    The 2016 Mandates’ unprecedented extension of the Patient Rate to Third Party

Directives cannot be squared with the statutory text. When a covered entity sends

PHI directly to a third party, it is not “providing [the] individual with a copy of

[her PHI].” HITECH § 13405(e)(2) (codified at 42 U.S.C. § 17935(e)(3)). It’s sending

the PHI to someone else. And when Congress wanted to address that scenario, it

knew how to do so: As set forth above, it talked about “transmit[ting] such copy

directly to [a] designated [third party].” Cf. id. § 13405(e)(2) (codified at 42 U.S.C.

§ 17935(e)(1)). The usual rule is that “where Congress includes particular language

in one section of a statute but omits it in another section of the same Act, it is

generally presumed that Congress acts intentionally and purposely in the disparate

inclusion or exclusion.” Russello v. United States, 464 U.S. 16, 23 (1983) (internal



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quotation omitted). And where Congress knows how to say something but fails to do

so, it likewise presumed to act intentionally. Touche Ross & Co. v. Redington, 442

U.S. 560, 572 (1979).

    To be sure, these presumptions can be overcome if there is good reason to think

Congress meant otherwise. But HHS offered no such reason here, and there is none.

Again, the Patient Rate exists solely to ensure that individuals can afford to access

to their own PHI for personal use because “[i]f the cost [of obtaining PHI] is

excessively high, some individuals will not be able to obtain a copy.” Privacy Rule,

65 Fed. Reg. at 82557. Those concerns simply do not apply where commercial third

parties want a patient’s PHI in order to make money, which is why the Privacy Rule

repeatedly explained that the Patient Rate was not designed “to affect the fees … for

providing [PHI] to anyone other than the individual.” Id. at 82557. HITECH did

not alter the commonsense basis for that longstanding approach, and the 2016

Mandates conflict with it.

        2.   The 2016 Mandates’ Cost Methods Are Arbitrary and Capricious.

    The Mandates’ tripartite approach to calculating the applicable Patient Rate

fares no better. It allows an “actual costs” method that would require CIOX to

compute its costs on a case-by-case basis for each of the tens of millions of requests it

completes each year, 2016 Mandates at 14; an “average costs” model that expressly

prohibits “per page fees” for electronically maintained PHI and instead would require

the creation of a “schedule of costs … to fulfill standard types of access requests,” id.;

or otherwise limits CIOX to a “flat fee” model, “provided the fee does not exceed $6.50,

inclusive of all labor, supplies, and any applicable postage.” Id. at 15.
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    Those options are totally arbitrary, and the 2016 Mandates utterly failed to

grapple with their defects. See United Steelworkers, 151 F. Supp. 3d at 89 (explaining

that an agency “has acted in an arbitrary and capricious manner” where it has

“entirely failed to consider an important aspect of the problem”) (internal quotation

omitted). The “actual costs” method is completely impractical for all but the smallest

medical-records providers. For a company like CIOX, which handles tens of millions

of individual requests each year, calculating the “actual” per-request costs based on

a “reasonable hourly rate” for each “person copying and sending the PHI” would

require minute-by-minute, employee-by-employee tracking on a per-request basis;

require CIOX to then perform literally hundreds of millions of calculations per year;

and subject CIOX to incessant disputes over the reasonableness of the resulting

charges. Id. at 14. The 2016 Mandates, however, make no effort to explain how or

why that is a practical approach, much less a reasonable one.

    The “average costs” model is equally impracticable and just as unjustifiable. As

the Complaint explained, there is no such thing as a “standard” request for PHI,

because the time, effort, and skill required to process a given request fluctuates

dramatically depending on each patient’s unique medical history and the myriad

forms and locations in which relevant records might be located. Compl. ¶¶ 12-17.

Indeed, that is why the Privacy Rule expressly eschewed the use of such fee schedules.

65 Fed. Reg. at 82735 (“We are not specifying a set fee because copying costs could

vary significantly.”). But HHS never acknowledged its departure from the Privacy

Rule’s explicit rejection of that approach—much less provided a reasoned explanation



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for it. See ANR Pipeline Co. v. FERC, 71 F.3d 897, 898 (D.C. Cir. 1995) (“[W]here an

agency departs from established precedent without a reasoned explanation, its

decision will be vacated as arbitrary and capricious.”).

    That leaves only the Mandates’ $6.50 option, which—precisely because of the

foregoing defects in the other methods—is for all intents and purposes the only option

available. But HHS drew its $6.50 figure from whole cloth: The Mandates offer no

basis for selecting $6.50, and it does not remotely approximate the costs necessary to

fulfill requests for PHI.    That is improper.      The most basic requirement of

administrative law requires that agencies “must examine the relevant data and

articulate a satisfactory explanation for its action including a rational connection

between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n v. State

Farm, 463 U.S. 29, 43 (1983) (quotation omitted). But in this case, nothing in the

2016 Mandates (or anywhere else in the record) “explains how or why Defendants

selected [$6.50]. The number quite literally appears to have been pulled out of thin

air.” United Steelworkers, 151 F. Supp. 3d at 90. Given their complete failure to

grapple with the foregoing issues, the 2016 Mandates represent the epitome of

arbitrary and capricious decisionmaking and cannot stand.

                                   CONCLUSION

    For the foregoing reasons, this Court should deny the government’s motion to

dismiss and grant CIOX’s cross-motion for summary judgment.




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Dated: May 2, 2018          Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      The undersigned certifies that on this 2nd day of May, 2018, he caused the

foregoing MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION

TO DEFENDANTS’ MOTION TO DISMISS AND IN SUPPORT OF CIOX’S

CROSS-MOTION FOR SUMMARY JUDGMENT to be served upon the following

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